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                      Exhibit 1
6/3/2019        Case 1:19-cv-00715-LO-IDD DocumentStatus
                                                    1-1Search
                                                         FiledSN 06/04/19
                                                                 4818664  Page 2 of 9 PageID# 22

   BULK DATA: The TSDR Application Programming Interface (API) will be unavailable starting May 7 at 12 a.m. ET for at least two weeks. Bulk data customers who rely on the
   TSDR API can use alternative methods to receive bulk data from TSDR. If you are a bulk data customer who has questions or needs additional information, please email us.

   INTERMITTENT SYSTEM ISSUES: Due to high-volume usage, you may experience intermittent issues on the Trademark Status and Document Retrieval (TSDR) system
   between 6 – 8 a.m. ET. Refreshing your web browser should resolve the issue. If you still need assistance accessing a document, email teas@uspto.gov and include your
   serial number, the document you are looking for, and a screenshot of any error messages you have received.

   ENHANCEMENT TO PROTECT YOUR PRIVACY: When applicants and registrants are not represented by an attorney, the USPTO now masks the correspondence email
   address in the status tab and the Application Programming Interface (API). We made this change to reduce the likelihood that customers will be subjected to scams and
   unwanted solicitations.



    STATUS        DOCUMENTS           MAINTENANCE                                                                                                                  Back to Search                    Print

                     Generated on: This page was generated by TSDR on 2019-06-03 16:55:26 EDT

                         Mark: JUUL




                US Serial Number: 86156947                                                                          Application Filing Date: Jan. 03, 2014

         US Registration Number: 4818664                                                                                  Registration Date: Sep. 22, 2015

                           Register: Principal

                        Mark Type: Trademark

 TM5 Common Status Descriptor:                                                                         LIVE/REGISTRATION/Issued and Active

                                                                                                       The trademark application has been registered with the Office.



                             Status: Registered. The registration date is used to determine when post-registration maintenance documents are due.

                       Status Date: Sep. 22, 2015

                 Publication Date: Dec. 02, 2014                                                                 Notice of Allowance Date: Jan. 27, 2015


   Mark Information

             Mark Literal Elements: JUUL

       Standard Character Claim: Yes. The mark consists of standard characters without claim to any particular font style, size, or color.

               Mark Drawing Type: 4 - STANDARD CHARACTER MARK


   Related Properties Information

         International Registration 1262817
                          Number:

      International Application(s) A0051392/1262817
    /Registration(s) Based on this
                        Property:


   Foreign Information

                  Priority Claimed: Yes

     Foreign Application Number: 47067                                                                    Foreign Application Filing Date: Jul. 09, 2013

 Foreign Application/Registration TRINIDAD AND TOBAGO
                           Country:


   Goods and Services

 Note:
 The following symbols indicate that the registrant/owner has amended the goods/services:
         Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.
                                For: Nicotine-based liquid, namely, liquid nicotine used to refill electronic cigarettes; cartridges sold filled with liquid nicotine for electronic cigarettes

           International Class(es): 001 - Primary Class                                                                        U.S Class(es): 001, 005, 006, 010, 026, 046

                      Class Status: ACTIVE

                              Basis: 1(a)

                          First Use: Jun. 01, 2015                                                                        Use in Commerce: Jun. 01, 2015

                                For: Electronic cigarette refill liquids, namely, chemical flavorings in liquid form used to refill electronic cigarettes; cartridges sold filled with chemical flavorings in
                                     liquid form for electronic cigarettes

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           International Class(es): 030 - Primary Class                                                                 U.S Class(es): 046

                      Class Status: ACTIVE

                            Basis: 1(a)

                         First Use: Jun. 01, 2015                                                                  Use in Commerce: Jun. 01, 2015

                              For: Electronic cigarettes; electronic smoking vaporizers, namely, electronic cigarettes; tobacco substitutes in liquid solution form other than for medical purposes for
                                    electronic cigarettes

           International Class(es): 034 - Primary Class                                                                 U.S Class(es): 002, 008, 009, 017

                      Class Status: ACTIVE

                            Basis: 1(a)

                         First Use: Jun. 01, 2015                                                                  Use in Commerce: Jun. 01, 2015


    Basis Information (Case Level)

                        Filed Use: No                                                                                   Currently Use: Yes

                         Filed ITU: Yes                                                                                 Currently ITU: No

                        Filed 44D: Yes                                                                                  Currently 44E: No

                        Filed 44E: No                                                                                   Currently 66A: No

                        Filed 66A: No                                                                             Currently No Basis: No

                   Filed No Basis: No


    Current Owner(s) Information

                      Owner Name: JUUL LABS, INC.

                  Owner Address: 560 20th Street, Building 104
                                 San Francisco, CALIFORNIA UNITED STATES 94107

                 Legal Entity Type: CORPORATION                                                               State or Country Where DELAWARE
                                                                                                                            Organized:


    Attorney/Correspondence Information

 Attorney of Record

                  Docket Number: 35196-TM1014

 Correspondent

   Correspondent Name/Address: Alyssa Worsham
                                    WILSON SONSINI GOODRICH & ROSATI
                                    650 PAGE MILL RD
                                    PALO ALTO, CALIFORNIA UNITED STATES 94304-1050

                           Phone: 650-493-9300                                                                                     Fax: 650-493-6811

 Domestic Representative - Not Found


    Prosecution History

 Date                                 Description                                                                                                               Proceeding Number

 Aug. 11, 2018                        NEW CERTIFICATE ISSUED, SEC. 7D                                                                                           71378

 Aug. 10, 2018                        CASE ASSIGNED TO POST REGISTRATION PARALEGAL                                                                              71378

 Jul. 20, 2018                        TEAS SECTION 7 REQUEST RECEIVED

 Mar. 28, 2018                        APPLICANT/CORRESPONDENCE CHANGES (NON-RESPONSIVE) ENTERED                                                                 88888

 Mar. 28, 2018                        TEAS CHANGE OF OWNER ADDRESS RECEIVED

 Aug. 16, 2017                        AUTOMATIC UPDATE OF ASSIGNMENT OF OWNERSHIP

 Dec. 09, 2015                        CERTIFICATE OF CORRECTION ISSUED                                                                                          67603

 Nov. 24, 2015                        CASE ASSIGNED TO POST REGISTRATION PARALEGAL                                                                              67603

 Nov. 05, 2015                        TEAS SECTION 7 REQUEST RECEIVED

 Sep. 22, 2015                        REGISTERED-PRINCIPAL REGISTER

 Aug. 18, 2015                        NOTICE OF ACCEPTANCE OF STATEMENT OF USE E-MAILED

 Aug. 17, 2015                        ALLOWED PRINCIPAL REGISTER - SOU ACCEPTED

 Aug. 13, 2015                        NOTICE OF APPROVAL OF EXTENSION REQUEST E-MAILED

 Aug. 12, 2015                        STATEMENT OF USE PROCESSING COMPLETE                                                                                      65362

 Aug. 12, 2015                        EXTENSION 1 GRANTED                                                                                                       65362

 Jul. 22, 2015                        EXTENSION 1 FILED                                                                                                         65362


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 Jul. 22, 2015                     USE AMENDMENT FILED                                                                      65362

 Aug. 10, 2015                     CASE ASSIGNED TO INTENT TO USE PARALEGAL                                                 65362

 Aug. 07, 2015                     CASE ASSIGNED TO INTENT TO USE PARALEGAL                                                 70458

 Jul. 22, 2015                     TEAS EXTENSION RECEIVED

 Jul. 22, 2015                     TEAS STATEMENT OF USE RECEIVED

 Feb. 25, 2015                     AUTOMATIC UPDATE OF ASSIGNMENT OF OWNERSHIP

 Jan. 27, 2015                     NOA E-MAILED - SOU REQUIRED FROM APPLICANT

 Dec. 02, 2014                     OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED

 Dec. 02, 2014                     PUBLISHED FOR OPPOSITION

 Nov. 12, 2014                     NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED

 Oct. 28, 2014                     LAW OFFICE PUBLICATION REVIEW COMPLETED                                                  68123

 Oct. 28, 2014                     ASSIGNED TO LIE                                                                          68123

 Oct. 08, 2014                     APPROVED FOR PUB - PRINCIPAL REGISTER

 Oct. 08, 2014                     EXAMINER'S AMENDMENT ENTERED                                                             88888

 Oct. 08, 2014                     NOTIFICATION OF EXAMINERS AMENDMENT E-MAILED                                             6328

 Oct. 08, 2014                     EXAMINERS AMENDMENT E-MAILED                                                             6328

 Oct. 08, 2014                     EXAMINERS AMENDMENT -WRITTEN                                                             73349

 Oct. 03, 2014                     TEAS/EMAIL CORRESPONDENCE ENTERED                                                        88889

 Oct. 02, 2014                     CORRESPONDENCE RECEIVED IN LAW OFFICE                                                    88889

 Oct. 02, 2014                     TEAS RESPONSE TO OFFICE ACTION RECEIVED

 Apr. 04, 2014                     NOTIFICATION OF NON-FINAL ACTION E-MAILED                                                6325

 Apr. 04, 2014                     NON-FINAL ACTION E-MAILED                                                                6325

 Apr. 04, 2014                     NON-FINAL ACTION WRITTEN                                                                 73349

 Apr. 04, 2014                     ASSIGNED TO EXAMINER                                                                     73349

 Jan. 16, 2014                     NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM

 Jan. 07, 2014                     NEW APPLICATION ENTERED IN TRAM


    TM Staff and Location Information

 TM Staff Information - None

 File Location

                 Current Location: TMEG LAW OFFICE 109                                    Date in Location: Aug. 11, 2018


    Assignment Abstract Of Title Information - Click to Load


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6/3/2019         Case 1:19-cv-00715-LO-IDD DocumentStatus
                                                     1-1Search
                                                          FiledSN 06/04/19
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   BULK DATA: The TSDR Application Programming Interface (API) will be unavailable starting May 7 at 12 a.m. ET for at least two weeks. Bulk data customers who rely on the
   TSDR API can use alternative methods to receive bulk data from TSDR. If you are a bulk data customer who has questions or needs additional information, please email us.

   INTERMITTENT SYSTEM ISSUES: Due to high-volume usage, you may experience intermittent issues on the Trademark Status and Document Retrieval (TSDR) system
   between 6 – 8 a.m. ET. Refreshing your web browser should resolve the issue. If you still need assistance accessing a document, email teas@uspto.gov and include your
   serial number, the document you are looking for, and a screenshot of any error messages you have received.

   ENHANCEMENT TO PROTECT YOUR PRIVACY: When applicants and registrants are not represented by an attorney, the USPTO now masks the correspondence email
   address in the status tab and the Application Programming Interface (API). We made this change to reduce the likelihood that customers will be subjected to scams and
   unwanted solicitations.



    STATUS         DOCUMENTS           MAINTENANCE                                                                                                                   Back to Search                    Print

                      Generated on: This page was generated by TSDR on 2019-06-03 16:56:13 EDT

                          Mark: JUUL




                 US Serial Number: 86683423                                                                          Application Filing Date: Jul. 06, 2015

          US Registration Number: 4898257                                                                                   Registration Date: Feb. 09, 2016

                 Filed as TEAS RF: Yes                                                                                    Currently TEAS RF: Yes

                            Register: Principal

                         Mark Type: Trademark

 TM5 Common Status Descriptor:                                                                          LIVE/REGISTRATION/Issued and Active

                                                                                                        The trademark application has been registered with the Office.



                              Status: Registered. The registration date is used to determine when post-registration maintenance documents are due.

                        Status Date: Feb. 09, 2016

                  Publication Date: Nov. 24, 2015


   Mark Information

             Mark Literal Elements: JUUL

         Standard Character Claim: No

                Mark Drawing Type: 5 - AN ILLUSTRATION DRAWING WITH WORD(S) /LETTER(S)/ NUMBER(S) INSTYLIZED FORM

               Description of Mark: The mark consists of the term "JUUL" in stylized lettering.

                  Color(s) Claimed: Color is not claimed as a feature of the mark.


   Goods and Services

 Note:
 The following symbols indicate that the registrant/owner has amended the goods/services:
         Brackets [..] indicate deleted goods/services;
         Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
         Asterisks *..* identify additional (new) wording in the goods/services.
                                 For: nicotine-based liquid, namely, liquid nicotine used to refill electronic cigarettes; cartridges sold filled with liquid nicotine for electronic cigarettes; electronic
                                      cigarette refill liquids, namely, chemical flavorings in liquid form used to refill electronic cigarettes; cartridges sold filled with chemical flavorings in liquid form for
                                      electronic cigarettes; electronic cigarettes; electronic smoking vaporizers, namely, electronic cigarettes; tobacco substitutes in liquid solution form other than for
                                       medical purposes for electronic cigarettes

            International Class(es): 034 - Primary Class                                                                        U.S Class(es): 002, 008, 009, 017

                       Class Status: ACTIVE

                               Basis: 1(a)

                           First Use: Jun. 01, 2015                                                                        Use in Commerce: Jun. 01, 2015


   Basis Information (Case Level)

                          Filed Use: Yes                                                                                        Currently Use: Yes

                           Filed ITU: No                                                                                        Currently ITU: No

                          Filed 44D: No                                                                                         Currently 44E: No

                          Filed 44E: No                                                                                         Currently 66A: No

                          Filed 66A: No                                                                                   Currently No Basis: No

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                                                     1-1Search
                                                          FiledSN 06/04/19
                                                                  4898257  Page 6 of 9 PageID# 26
                   Filed No Basis: No


    Current Owner(s) Information

                      Owner Name: JUUL LABS, INC.

                  Owner Address: 560 20th Street, Building 104
                                   San Francisco, CALIFORNIA UNITED STATES 94107

                 Legal Entity Type: CORPORATION                                              State or Country Where DELAWARE
                                                                                                         Organized:


    Attorney/Correspondence Information

 Attorney of Record

                  Attorney Name: Alyssa Worsham                                                     Docket Number: 35196-TM1028

 Attorney Primary Email Address: trademarks@wsgr.com                                      Attorney Email Authorized: Yes

 Correspondent

   Correspondent Name/Address: Alyssa Worsham
                               WILSON SONSINI GOODRICH & ROSATI
                                   650 PAGE MILL RD
                                   PALO ALTO, CALIFORNIA UNITED STATES 94304-1050

                           Phone: 650-493-9300                                                                 Fax: 650-493-6811

            Correspondent e-mail: trademarks@wsgr.com                                          Correspondent e-mail Yes
                                                                                                        Authorized:

 Domestic Representative - Not Found


    Prosecution History

 Date                                Description                                                                                     Proceeding Number

 Aug. 24, 2018                       NEW CERTIFICATE ISSUED, SEC. 7D                                                                 68502

 Aug. 22, 2018                       CASE ASSIGNED TO POST REGISTRATION PARALEGAL                                                    68502

 Jul. 25, 2018                       TEAS SECTION 7 REQUEST RECEIVED

 Mar. 28, 2018                       APPLICANT/CORRESPONDENCE CHANGES (NON-RESPONSIVE) ENTERED                                       88888

 Mar. 28, 2018                       TEAS CHANGE OF OWNER ADDRESS RECEIVED

 Aug. 16, 2017                       AUTOMATIC UPDATE OF ASSIGNMENT OF OWNERSHIP

 Feb. 09, 2016                       REGISTERED-PRINCIPAL REGISTER

 Nov. 24, 2015                       OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED

 Nov. 24, 2015                       PUBLISHED FOR OPPOSITION

 Nov. 04, 2015                       NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED

 Oct. 19, 2015                       APPROVED FOR PUB - PRINCIPAL REGISTER

 Oct. 15, 2015                       ASSIGNED TO EXAMINER                                                                            74825

 Jul. 09, 2015                       NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM

 Jul. 09, 2015                       NEW APPLICATION ENTERED IN TRAM


    TM Staff and Location Information

 TM Staff Information - None
 File Location

                 Current Location: POST REGISTRATION                                               Date in Location: Aug. 24, 2018


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    Proceedings - Click to Load




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6/3/2019         Case 1:19-cv-00715-LO-IDD DocumentStatus
                                                     1-1Search
                                                          FiledSN 06/04/19
                                                                  5304697  Page 7 of 9 PageID# 27

   BULK DATA: The TSDR Application Programming Interface (API) will be unavailable starting May 7 at 12 a.m. ET for at least two weeks. Bulk data customers who rely on the
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   unwanted solicitations.



    STATUS         DOCUMENTS           MAINTENANCE                                                                                                                     Back to Search                    Print

                      Generated on: This page was generated by TSDR on 2019-06-03 16:56:42 EDT

                          Mark:




                 US Serial Number: 87154443                                                                            Application Filing Date: Aug. 29, 2016

          US Registration Number: 5304697                                                                                    Registration Date: Oct. 10, 2017

                 Filed as TEAS RF: Yes                                                                                     Currently TEAS RF: Yes

                            Register: Principal

                         Mark Type: Trademark

 TM5 Common Status Descriptor:                                                                           LIVE/REGISTRATION/Issued and Active

                                                                                                         The trademark application has been registered with the Office.



                              Status: Registered. The registration date is used to determine when post-registration maintenance documents are due.

                        Status Date: Oct. 10, 2017

                  Publication Date: Jul. 25, 2017


   Mark Information

             Mark Literal Elements: None

         Standard Character Claim: No

                Mark Drawing Type: 2 - AN ILLUSTRATION DRAWING WITHOUT ANY WORDS(S)/ LETTER(S)/NUMBER(S)

               Description of Mark: The mark is two-dimensional and consists of a vertical rectangle with an elongated hexagon shape inside the rectangle with the hexagon located at
                                    approximately the center of the rectangle.

                  Color(s) Claimed: Color is not claimed as a feature of the mark.

           Design Search Code(s): 26.11.02 - Plain single line rectangles; Rectangles (single line)
                                  26.11.21 - Rectangles that are completely or partially shaded
                                        26.15.02 - Polygons (plain, single line); Plain single or multiple line polygons


   Goods and Services

 Note:
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         Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
         Asterisks *..* identify additional (new) wording in the goods/services.
                                  For: nicotine-based liquid, namely, liquid nicotine used to refill electronic cigarettes; cartridges sold filled with liquid nicotine for electronic cigarettes; electronic
                                        cigarette refill liquids, namely, chemical flavorings in liquid form used to refill electronic cigarettes; cartridges sold filled with chemical flavorings in liquid form for
                                        electronic cigarettes; electronic cigarettes; electronic smoking vaporizers, namely, electronic cigarettes; tobacco substitutes in liquid solution form other than for
                                        medical purposes for electronic cigarettes

            International Class(es): 034 - Primary Class                                                                          U.S Class(es): 002, 008, 009, 017

                       Class Status: ACTIVE

                               Basis: 1(a)

                           First Use: Mar. 28, 2016                                                                          Use in Commerce: Mar. 28, 2016


   Basis Information (Case Level)


https://tsdr.uspto.gov/#caseNumber=5304697&caseSearchType=US_APPLICATION&caseType=DEFAULT&searchType=statusSearch                                                                                                   1/3
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                                                     1-1Search
                                                          FiledSN 06/04/19
                                                                  5304697  Page 8 of 9 PageID# 28
                        Filed Use: Yes                                                               Currently Use: Yes

                         Filed ITU: No                                                                Currently ITU: No

                        Filed 44D: No                                                                Currently 44E: No

                        Filed 44E: No                                                                Currently 66A: No

                        Filed 66A: No                                                            Currently No Basis: No

                   Filed No Basis: No


    Current Owner(s) Information

                      Owner Name: JUUL LABS, INC.

                  Owner Address: 560 20th Street, Building 104
                                 San Francisco, CALIFORNIA UNITED STATES 94107

                 Legal Entity Type: CORPORATION                                              State or Country Where DELAWARE
                                                                                                         Organized:


    Attorney/Correspondence Information

 Attorney of Record

                  Attorney Name: Aaron D. Hendelman                                                 Docket Number: 35196-TM1034

 Attorney Primary Email Address: trademarks@wsgr.com                                      Attorney Email Authorized: Yes

 Correspondent

   Correspondent Name/Address: NATHAN E. FERGUSON
                               WILSON SONSINI GOODRICH & ROSATI
                               650 PAGE MILL ROAD
                                   PALO ALTO, CALIFORNIA UNITED STATES 94304-1050

                           Phone: 650-493-9300                                                                 Fax: 650-493-6811

            Correspondent e-mail: trademarks@wsgr.com                                          Correspondent e-mail Yes
                                                                                                        Authorized:

 Domestic Representative - Not Found


    Prosecution History

 Date                                Description                                                                                   Proceeding Number

 Mar. 28, 2018                       APPLICANT/CORRESPONDENCE CHANGES (NON-RESPONSIVE) ENTERED                                     88888

 Mar. 28, 2018                       TEAS CHANGE OF OWNER ADDRESS RECEIVED

 Oct. 10, 2017                       REGISTERED-PRINCIPAL REGISTER

 Aug. 16, 2017                       AUTOMATIC UPDATE OF ASSIGNMENT OF OWNERSHIP

 Jul. 25, 2017                       OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED

 Jul. 25, 2017                       PUBLISHED FOR OPPOSITION

 Jul. 05, 2017                       NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED

 Jun. 14, 2017                       APPROVED FOR PUB - PRINCIPAL REGISTER

 Jun. 02, 2017                       EXAMINER'S AMENDMENT ENTERED                                                                  88888

 Jun. 02, 2017                       NOTIFICATION OF EXAMINERS AMENDMENT E-MAILED                                                  6328

 Jun. 02, 2017                       EXAMINERS AMENDMENT E-MAILED                                                                  6328

 Jun. 02, 2017                       EXAMINERS AMENDMENT -WRITTEN                                                                  89009

 May 13, 2017                        TEAS/EMAIL CORRESPONDENCE ENTERED                                                             88889

 May 12, 2017                        CORRESPONDENCE RECEIVED IN LAW OFFICE                                                         88889

 May 12, 2017                        TEAS RESPONSE TO OFFICE ACTION RECEIVED

 Nov. 15, 2016                       NOTIFICATION OF NON-FINAL ACTION E-MAILED                                                     6325

 Nov. 15, 2016                       NON-FINAL ACTION E-MAILED                                                                     6325

 Nov. 15, 2016                       NON-FINAL ACTION WRITTEN                                                                      89009

 Nov. 08, 2016                       ASSIGNED TO EXAMINER                                                                          89009

 Sep. 03, 2016                       NOTICE OF DESIGN SEARCH CODE E-MAILED

 Sep. 02, 2016                       NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM

 Sep. 01, 2016                       NEW APPLICATION ENTERED IN TRAM


    TM Staff and Location Information

 TM Staff Information - None
 File Location


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6/3/2019   Case 1:19-cv-00715-LO-IDD DocumentStatus
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                                                    FiledSN 06/04/19
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            Current Location: PUBLICATION AND ISSUE SECTION                   Date in Location: Oct. 10, 2017


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